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UNITED STATES DISTRICT COURT

 

COURT OF FEDERAL CLAIMS

)

CAMERON ELLIS, )

)

Plaintiff, )

)
v. ) No. 19-1489C
) Judge Kaplan

UNITED STATES POSTAL SERVICE, )

)

Defendant. )

)

 

OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
Defendant has filed a Motion to Dismiss claiming this case does not allege facts
supporting a breach of contract or negligence claim. Defendant is incorrect. Plaintiff has
amply alleged facts demonstrating that Defendant did, in fact, breach a contract with Plaintiff,
and act negligently in connection with this matter. In further support of his claims, Plaintiff
attaches various USPS documents (See Exhibits 1-5), already in USPS custody but oddly not
mentioned in Defendant’s motion to dismiss even though Defendant sought an extension from
this Court to file its response based on its claimed need to retrieve these documents.
FACTS

As set forth in Plaintiff's complaint, on or about June 11, 2018, Plaintiff went to
Defendant’s Belmont, Massachusetts branch and sent a brand new Gucci backpack to Los
Angeles, California through the U.S. Mail after selling it on eBay for $800.00. (Exhibit 1)
Plaintiff paid $1,250.00 for the backpack in August 2017. (Exhibit 5).

After the backpack was shipped, but before it was delivered, Plaintiff purchased an

intercept from Defendant on June 23, 2018. (Exhibit 2) An intercept is a contractual guarantee

 
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that a package will not be delivered to the addressee, and will be returned to the sender.
Defendant confirmed Plaintiff's purchase of the intercept, and informed Plaintiff that the
intercept had taken effect. (See Plaintiff's Complaint) This was a false statement. On J une 25,
2018 at 08:58 the backpack is described in USPS tracking documents as “INTERCEPTED” af
the USPS facility in Los Angeles, California. (Exhibit 2) The next entry in the tracking
document states that at exactly the same time, June 25 , 2018 at 08:58, the backpack was
“DELIVERED, INDIVIDUAL PICKED UP AT POSTAL FACILITY.” (Exhibit 2)

When Plaintiff learned that USPS had delivered the backpack immediately affer
intercepting it, he contacted USPS officials in Massachusetts and California. (See Complaint)
Plaintiff was advised to speak with a postal inspector in California. Plaintiff gave the inspector
the address to which the backpack was originally sent. The inspector stated that he would
initiate an investigation, attempt to locate the package, retrieve it, and send back to Plaintiff.
The inspector advised Plaintiff to contact USPS customer service in Boston. (See Complaint)

Plaintiff contacted USPS customer service in Boston. An official there took a
description of the missing item and promised to contact the California postal inspector to
ensure that an investigation took place, and to determine whether the backpack had been
located and retrieved. Neither the California postal inspector nor the Boston customer service
official ever followed up with the Plaintiff. USPS officials in both states told Plaintiff that
they would assign postal inspectors to investigate and attempt to recover the backpack, but
Defendant took no such steps. Plaintiff repeatedly asked USPS officials about the
investigation, and was promised that an investigation would take place, but no USPS official
ever investigated the matter or otherwise took steps to recover the backpack, locate and

retrieve the backpack, or determine what happened to the backpack. (See Complaint)

 
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The backpack was wrongfully delivered, lost, or stolen at the USPS postal facility in
Los Angeles California, at exactly the same time that it was intercepted, on or about June 25,
2018.

In late October, 2018, an official at the Belmont, MA post office looked at
computerized USPS tracking information and stated that it appeared the package had been
located by USPS officials in Los Angeles, California, and was en route back to Belmont. (See
Complaint) This same USPS official stated that it was not necessary to file a claim because
the package had been recovered. That information was incorrect because soon thereafter, the
manager at the Belmont, MA post office, Erick Scholl, advised Plaintiff that the backpack had
not been located, and that he would send a fax himself to a customer service fax number to
determine the location of the backpack. Mr. Scholl stated that he personally called the
California postal inspector many times, but received no response. (Exhibits 3-4)

A week or so later, Mr. Scholl told Plaintiff that he did not have any luck determining
where the backpack was, and that Plaintiff should call 1-800-332-0317 and ask for a
complaint “form 1000” because the package could not be retrieved. A few weeks later,
Plaintiff received “form 1000” in the mail. He completed the form and submitted a complaint
via certified mail to the USPS Domestic Claims Department in Missouri. Plaintiff's claim and
appeal were denied by Defendant. (See Complaint)

BREACH OF CONTRACT/NEGLIGENCE

Contrary to Defendant’s argument, Plaintiffs’ claims are not simply that a contract was
created by the purchase of an intercept. Plaintiff's backpack was successfully intercepted, and
then immediately delivered to an unknown individual at the USPS facility in Los Angeles

California. Defendant created a contract with Plaintiff by accepting Plaintiffs money for the

 
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intercept and stating, verbally and in the tracking order, that the intercept was successful, and
when that information proved to be false, promising to initiate an investigation which never
took place, and when that information proved to be false, telling Plaintiff the backpack had
been recovered and that there was no need to file a complaint, and when that information
proved to be false, telling Plaintiff the backpack had probably been stolen by a USPS
employee, and that he should file a claim with the USPS, which was hopeless, and ultimately
denied.

Defendant made false statements and no attempt whatsoever to determine whether a
USPS employee stole the backpack, or whether it had been delivered improperly by a USPS
postal employee at the USPS facility in Los Angeles California. USPS records indicate the
intercept was successfully effectuated at the USPS postal facility in Los Angeles, California at
the same time when the intercept failed, yet Defendant failed even to visit the putative
addressee’s home to determine whether that person picked up the backpack, so it could at
least be determined whether a customer or an employee at the Los Angeles Post Office had
taken the backpack.

Plaintiff relied on Defendant’s various statements to his detriment. USPS officials
negligently performed the intercept, and negligently and recklessly stated that the intercept
was successful when it was not, then later stated that that they found the backpack, and when
both claims proved untrue, they promised to conduct an investigation. Had these false
representations not been made, Plaintiff could have reached out to law enforcement sources,
or sought assistance from others, in an attempt to recover his backpack.

For all the above reasons, Defendant’s motion should be denied.

 
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Respectfully submitted,

 

 

Cameron Ellis, pro se

Dated: December 30, 2019

 
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CERTIFICATE OF SER VICE
I hereby certify under penalty of perjury that on this 30" day of December, 2019, I

caused to be placed in the United States mail (first-class postage prepaid), a copy of the

foregoing Opposition to Defendant’s Motion to Dismiss, addressed as follows:
Cometor |e |\,S

Mollie Finnan

Claudia Burke

U.S. Department of Justice

Civil Division

Commercial Litigation Branch

P.O. Box 480, Ben Franklin Station
Washington, DC 20044

 

 
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Tracking Number Classification

 

  

 

 

 

 

Class/Service

Class/Service:
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Destination Address information

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City:

State:

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4-Digit ZIP Code add on:
Delivery Point Code:

Record Type Code:

Delivery Type:

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Shipping Services File

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Shipping Services File Type:
Shipment Accepted:

07/07/2018 08:55.
2 - Tracking File
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Service Delivery information

Service Performance Date:

Network Predicted Delivery Date:
Expected Delivery between:

Expected Delivery Displayed Externally?:

Expected Delivery by: Monday, 06/18/2016 by 8:00pm
Monday, 08/18/2048

10:50 - 12:50

Check service calculation information page

 

Zone: 00
PO Box: N
Other Information

Payment

Payment Type: Other Postage

Payment Account Number: ooponeneRsoD

Postage: $19.60
Weight: - 3 Ib(s) 11 02z(S) .

Rate Indicator:

Single-Piece Rate

 

 

 

 

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' December 11, 2018

To Whom It May Concern,

My name is Erick Scholl and | am writing on behalf of the Belmont Post Office in Massachusetts.
Our customer named Cameron Ellis came in on 6/11/2018 and sent a retail ground package to
Los Angeles, CA. On 6/23/2018 the customer paid for an intercept and rather than it be
intercepted the Post Office allowed an individual to pick it up at the postal facility.

Attached you will find tracking and reporting information, claim for damage, a receipt for the
product, and a copy of the customers bank statement with the transaction day and date.

Is it possible for someone to take a closer look at the claim that has been sent? The claim was
sent on 11/9/2018.

Thank You for your cooperation with this matter.
Erick Scholl

Get hye
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| received a phone call from the claim department phone number 314-345-2900 at 1.02 pm on
12/17/2018 | had mailed a claim form to them by express mail 12/11/2018 tracking number
66386714319us on behalf of Cameron Ellis and his mom Wendy Murphy. We are trying to
resolve a claim on a package that was sent to los Angeles California 90044 . The package was
sent and arrived 6/25/2018 at 7.32 am
Tracking number 9534-612 1-6263-8162-2413-76 The customer paid to have the package
intercepted The package in question was intercepted at 8.58 am 6/25/2018 and then delivered
At 8.58 am that same cay . Ms Murphy has tried to to resolve this with the united states postal
inspection service case number cal ca1329171120 and has not received any response. The
person that called me from St Louis today asked me to have the custorner call 1-800-332-0317
press option 9 and have a form 1000 mailed to them | asked if | could print one out or if he
could not . The customer service rep from St Louis stated to me that after Ms Murphy sends
back the form 1000 she should receive a letter saying claim denied .

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